Case 1:18-cv-00950-PTG-JFA Document 699-1 Filed 02/28/20 Page 1 of 1 PageID# 30526




                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

       Plaintiffs,

v.
                                                  Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

       Defendants.




          Pursuant to Court Order (ECF No. 696), Exhibit A to the foregoing,
     consisting of a compilation of trial exhibits, will be filed on a hard drive.
